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                                       UNITED STATES JUDICIAL PANEL
                                                               on
                                          MULTIDISTRICT LITIGATION


   IN RE: CARRIER IQ, INC., CONSUMER
   PRIVACY LITIGATION                                                                                     MDLNo.2330


                                                  TRANSFER ORDER


            Before the Panel:> Pursuant to 28 U.S.C. § 1407, plaintiffs in the Northern District of
   California Pipkin action move to centralize this litigation in the Northern District of California.
   Plaintiffs in the District of Delaware Pacilli action move for centralization in either the Northern
   District of California or the Northern District ofIllinois. This litigation currently consists ofeighteen
   actions pending in ten districts, as listed on Schedule A. I All parties support centralization, but they
   disagree as to the appropriate transferee district.

           Plaintiffs in three Northern District of California actions, as well as seven related actions,
   support centralization in the Northern District ofCalifornia. 2 Common defendant Carrier IQ, Inc.,
   as well as manufacturer defendants Apple, Inc.; LG Electronics Mobile Research U.S.A. LLC; LG
   Electronics Mobilecomm U.S.A., Inc.; LG Electronics U.S.A., Inc.; and HTC America, Inc., also
   support centralization in the Northern District of California. Defendants Samsung Electronics
   America, Inc., and Samsung Telecommunications America, Inc., support centralization but take no
   position regarding the transferee district.

           Plaintiffs in six actions and thirteen related actions pending in several districts support
   centralization in the Northern District of Illinois. Plaintiffs in two related actions in the Central
   District of California support centralization in the Central District of California. Plaintiffs in two
   related actions in the Northern District of Texas support centralization in that district.

            On the basis of the papers filed and hearing session held, we fmd that these actions involve
   common questions offact, and that centralization of all actions in the Northern District of California
   will serve the convenience ofthe parties and witnesses and promote the just and efficient conduct of
   this litigation. All the actions are putative nationwide class actions, as well as various state


            • Judges John G. Heyburn II and Charles R. Breyer took no part in the decision ofthis matter.

            I The parties have notified the Panel of 53 additional related actions, pending in various
   districts. These actions and any other related actions are potential tag-along actions. See Rule 7.1,
   R.P.J.P.M.L.

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   subclasses, in which plaintiffs allege that defendants tracked and recorded private user infonnation
   on mobile communication devices - including users' location, keystrokes, message content, and data
   - using Carrier IQ software. Centralization will eliminate duplicative discovery; prevent inconsistent
   pretrial rulings, including with respect to class certification; and conserve the resources ofthe parties,
   their counsel, and the judiciary.

           We are persuaded that the Northern District ofCalifornia, which enjoys the support ofseveral
   responding plaintiffs and defendants, is an appropriate transferee district. Numerous actions and
   potential tag-along actions are pending in this district, where common defendant Carrier IQ and other
   manufacturer defendants are headquartered or have a significant presence. Presumably, relevant
   documents and witnesses are located in this district. Further, by selecting Judge Edward M. Chen
   to preside over this litigation, we are choosing a jurist experienced in multidistrict litigation, but
   without a current MDL assignment, to steer this litigation on a prudent course.

          IT IS THEREFORE ORDERED that pursuant to 28 U.S.c. § 1407, the actions listed in
   Schedule A are transferred to the Northern District ofCalifornia and, with the consent of that court,
   assigned to the Honorable Edward M. Chen for coordinated or consolidated pretrial proceedings.


                                           PANEL ON MULTIDISTRICT LITIGATION




                                                        Kathryri . Vratll
                                                        Acting Chairman

                                           W. Royal Furgeson, Jr.           Barbara S. Jones
                                           Paul 1. Barbadoro                Marjorie O. Rendell
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   IN RE: CARRIER IQ, INC., CONSUMER
   PRIVACY LITIGATION                                                               MDLNo.2330


                                           SCHEDULE A

                Northern District of California

        Rowena Silvera, et al. v Carrier IQ, Inc., et al., C.A. No.5: 11-05821
        Patrick Kenny, et al. v. Carrier IQ, Inc., et al., c.A. No. 5:11-05774
        Eric Steiner v. Carrier IQ, Inc., c.A. No.5: 11-05802
        Eric Thomas, et al. v. Carrier IQ Inc., et al., C.A. No. 5:11-05819
        Daniel Pipkin, et al. v. Carrier IQ, Inc., et al., c.A. No.5: 11-05820
        Jennifer Sue Patrick, et al. v. Carrier IQ, Inc., C.A. No.5: 11-05842
        Lindsay Padilla, et al. v. Carrier IQ, Inc., c.A. No.5: 11-05975

                District of Connecticut

        Ryan McKeen v. Carrier IQ, Inc., et al., C.A. No. 3:11-01895

                District of Delaware

        Jeffrey Pacilli, et al. v. Carrier IQ Inc., et al., C.A. No. 1:11-01199

                Southern District of Florida

        Craig Schmidt, et al. v. Carrier IQ, Inc., et al., c.A. No.1: 11-24352

               Northern District of Illinois

        Erin Janek v. Carrier IQ, Inc., et al., C.A. No.1: 11-08564
        Jeffrey Wilson v. Carrier IQ, Inc., C.A. No.1: 11-08579

                Southern District of Illinois

        Justin Conley, et al. v. Carrier IQ, Inc., C.A. No. 3:11-01059

               District of Massachusetts

        Dylan T. Ferreira v. Carrier IQ, Inc., c.A. No. 1:11-12146
        Joshua Libbyv. CarrierIQ, Inc., C.A. No. 1:11-12150

               Eastern District of Missouri

        Margaret Elliott, et al. v. Carrier IQ, Inc., et al., C.A. No.4: 11-02095
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   MDL No. 2330 Schedule A (Continued)


                District of Rhode Island

         Melissa 1. Link v. Carrier IQ, Inc., et al., c.A. No.1: 11-0603

                Eastern District of Texas

         Joseph Cosme v. Carrier IQ, Inc., et al., C.A. No.1: 11-0689
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                                          OFFICE OF THE CLERK
                               UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

Richard W. Wieking                                                       450 Golden Gate Avenue
     Clerk                                                               San Francisco, CA 94102
                                                                              415.522.2000


U.S. District Court
J. Caleb Boggs Federal Building
844 N. King Street, Unit 18
Wilmington, DE 19801-3570

                Re: MOL 12-2330 In re Carrier IQ, Inc. Consumer Privacy Litigation

Title of Case(s)                                                             Your Case Number(s)
Jeffrey Pacilli, et al v. Carrier 10, Inc., et al                            C.A. No. 1:11-01199

Dear Clerk:

        Enclosed is a certified copy of the order from the Judicial Panel on Multidistrict Litigation
transferring the above entitled action to the Northern District of California, San Francisco
Division. The case has been assigned to the Honorable Edward M. Chen for coordinated or
consolidated pretrial processing pursuant to 28 USC § 1407.

        Please forward the electronic case by using the e-transfer functionality of CM/ECF and
contacting our Automation Department at ecfhelpdesk@cand.uscourts.gov to arrange for its
electronic transfer. Otherwise, please forward the original record and a certified copy of the
docket sheet at the above address and 1) e-mail anyPDFdocuments.asseparatePDFfiles.to
SFmdl clerk@cand.uscourts.gov or 2) provide the PDF documents on a disc, or 3) provide us
with a temporary log in and a password to directly access your database to expedite the
downloading of the PDF files we need andlor require. We appreciate your prompt attention to
this matter.


                                                                     Sincerely yours,
                                                                     Richard W. Wieking, Clerk

                                                                     l.e. ~--:ti
                                                                     By: Rufino Santos
                                                                     Deputy Clerk
Enc!.
